
*118OPINION.
Lansdon :
The petitioner claims deduction from his gross income for each of the years 1918 and 1919 in the respective amounts of $74.6.44 and $13,076.30, as bad debts ascertained to be worthless and charged off in such years. The record discloses that the amounts in question included uncollectible balances on installment accounts with purchasers, discounts allowed to customers on account of inferior or damaged merchandise, and the amount of $2,500, representing a cash loan made to a man who became insolvent during the year 1919.
The evidence is conclusive that all the amounts included in the petitioner’s claim are proper deductions from gross income. We are satisfied with the proof that debts so included were ascertained to be worthless and charged off during the taxable years. The discounts for inferior or damaged merchandise were ordinary business expenses not otherwise or elsewhere deducted from income. The loan was made in cash, and at the end of the year the borrower was insolvent, and without assets of any description.
The only question that can arise in connection with the allowance of these amounts is whether that part of the total which represents uncollectible accounts and discounts to purchasers was ever charged into income. The petitioner testified that he used the amount of gross sales for any year as the starting point for computing his profits from operations for such year, and that from such amount he deducted cost of merchandise, expenses of operations, including discounts and commissions, and uncollectible accounts. This method indicates that the petitioner kept his accounts and made his income- ‘ tax returns on the accrual basis. We are confirmed in this conclusion by the fact that upon audit of the returns for the taxable years the Commissioner employed the accrual basis in computing the income as to which he asserted the deficiencies here involved. We are convinced that the petitioner kept his books and made his income-tax returns on the accrual basis, and that the amounts claimed as deductions on account of bad debts, discounts to customers, and loans, were all included in gross income, and that the petitioner is entitled to deduct such amounts as bad debts and expenses.
The evidence that the animals in question were purchased by the petitioner, their cost, and that all died in the taxable year 1919, is clear and uncontradicted. The cost of such animals in the amount of $1,000 is a proper deduction for income purposes from the petitioner’s gross income for the year 1919.

Judgment will be entered for the 'petitioner.

